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                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 In re:
                                                              CHAPTER 7
 MIDNIGHT MADNESS DISTILLING LLC,                             Case No. 21-11750-PMM

                         Debtor.




 BONNIE B. FINKEL, in her capacity as Chapter 7               Adv. No. 23-00047-PMM
 Trustee for Midnight Madness Distilling LLC,

                         Plaintiff,
                 v.                                           JURY TRIAL DEMANDED
 CASEY PARZYCH; SHAWN SHEEHAN; ANGUS
 RITTENBURG;     KELLY    FESTA;  ASHLEIGH
 BALDWIN; MICHAEL BOYER; R.F. CULBERTSON;
 GARY     PARZYCH;       RYAN     USZENSKI;
 POLEBRIDGE, LLC; GOOD DESIGN, INC.; AGTECH
 PA LLC; AGTECH VI, LLC; XO ENERGY
 WORLDWIDE, LLLP; XO EW, LLC; CAN MAN LLC;
 BEST BEV, LLC; ETOH WORLDWIDE, LLC;
 CANVAS 340, LLC; FINLAND LEASING CO., INC.;
 and EUGENE T. PARZYCH, INC.,
                         Defendants.




              AGTECH PA LLC CORPORATE DISCLOSURE STATEMENT
          PURSUANT TO FEDERAL RULE OF BANKRUPTCY PROCEDURE 7007.1

          Defendant AgTech PA LLC (“AgTech PA”) by and through undersigned counsel, hereby

submits the following corporate disclosure statement pursuant to Rule 7007.1 of the Federal Rules

of Bankruptcy Procedure, as derived from Rule 26.1 of the Federal Rules of Appellate Procedure:




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       1.      AgTech PA hereby discloses that no corporation owns, directly or indirectly, ten

percent (10%) or more of AgTech PA’s equity interests and, therefore, that there are no entities

to report pursuant to Rule 7007.1.

       2.      AgTech PA understands that it must promptly file a supplemental statement upon

any change in the information that this statement requires.


Dated: February 27, 2025                         K&L GATES LLP

                                                 /s/ Steven L. Caponi
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                                                 Attorneys for Casey Parzych; Shawn Sheehan;
                                                 Angus Rittenburg; Ashleigh Baldwin; R.F.
                                                 Culbertson; Michael Boyer; Kelly Festa,
                                                 Polebridge, LLC; Good Design, Inc.; AgTech
                                                 PA LLC; AgTech VI, LLC; XO Energy
                                                 Worldwide, LLLP; XO EW, LLC; Best Bev,
                                                 LLC; EtOH Worldwide, LLC; and Canvas 340
                                                 LLC



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 BALDWIN; MICHAEL BOYER; R.F. CULBERTSON;
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 POLEBRIDGE, LLC; GOOD DESIGN, INC.; AGTECH
 PA LLC; AGTECH VI, LLC; XO ENERGY
 WORLDWIDE, LLLP; XO EW, LLC; CAN MAN LLC;
 BEST BEV, LLC; ETOH WORLDWIDE, LLC;
 CANVAS 340, LLC; FINLAND LEASING CO., INC.;
 and EUGENE T. PARZYCH, INC.,
                          Defendants.




                                    CERTIFICATE OF SERVICE

          I, Steven Caponi, hereby certify that on February 27, 2025, I served a copy of the forgoing

AgTech PA LLC Corporate Disclosure Statement Pursuant to Federal Rule of Bankruptcy

Procedure 7007.1 via CM/ECF on all counsel registered to receive electronic service via CM/ECF.

                                                                      /s/ Steven L. Caponi
                                                                      Steven L. Caponi
